Case 2:O5-cr-20142-.]DB Document 25 Filed 06/02/05 Page 1 of 2 PagelD 23

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uNrTED sTATEs oF AMERICA, §lr'§}`éii: r}~`i §§§p§§

P|aintiff,

VS.
CR. NO. 05-20142-5

CALVlN |V|C NAFlY,

Detendant.

 

ORDEF{ ON CONTlNUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |Vlay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
disposition of pending motions.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a repgr_t
date of Thursdav. June 23. 2005, at 2:00 p.m., in Courtroom 1. 1‘lth Floor of the
Federal Building, l\/lemphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18

U.S.C. § 31 61 (h)(8)(B)(iv) because the ends of justice served in allowing foradditiona| time
to prepare outweigh the need for a s eedy tria|.
|T IS SO ORDERED this § day of ne, 2005.

_L BR‘EEN
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This docl_ment entered on the docket sheet in corn liance
with R.ile 55 and/or 32!bl FRCrP on_-_.__._....._____

   

UNITED sTATE onlle COURT - WESRNTE D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
ease 2:05-CR-20142 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

